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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


 R2 Solutions LLC,
                                                          Civil Action No. 3:22-cv-02869
             Plaintiff,

 v.                                                            Jury Trial Demanded

 Southwest Airlines Co.,

             Defendant.


                          COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff R2 Solutions LLC files this Complaint against Southwest Airlines Co. for

infringement of U.S. Patent Nos. 8,341,157 (“the ’157 patent”), 7,698,329 (“the ’329 patent”),

8,209,317 (“the ’317 patent”), 9,805,097 (“the ’097 patent”), and 10,176,272 (“the ’272 patent”).

The ’157 patent, ’329 patent, ’317 patent, ’097 patent, and ’272 patent are referred to collectively

as the “patents-in-suit.”

                                          THE PARTIES

        1.       Plaintiff R2 Solutions LLC (“R2”) is a Texas limited liability company located in

Frisco, Texas.

        2.       Defendant Southwest Airlines Co. (“Southwest”) is a corporation with

headquarters at 2702 Love Field Drive, #HDQ6TX, Dallas, Texas 75235. Southwest may be

served with process through its registered agent, Corporation Service Company d/b/a CSC –

Lawyers Incorporating Service Company at 211 E. 7th Street, Suite 620, Austin, Texas 78701.
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                                 JURISDICTION AND VENUE

       1.      This action arises under the patent laws of the United States, 35 U.S.C. § 101, et

seq. This Court’s jurisdiction over this action is proper under the above statutes, including 35

U.S.C. § 271, et seq., 28 U.S.C. § 1331 (federal question jurisdiction), and 28 U.S.C. § 1338

(jurisdiction over patent actions).

       2.      This Court has personal jurisdiction over Southwest in accordance with due

process and/or the Texas Long Arm Statute because, among other things, Southwest is a resident

of Texas. Southwest also does business in this State by, among other things, “recruit[ing] Texas

residents, directly or through an intermediary located in this state, for employment inside or

outside this state.” TEX. CIV. PRAC. & REM. CODE § 17.042(3). For instance, Southwest has

79 job openings listed in Dallas, Texas as of December 14, 2022. 1

       3.      Relative to patent infringement, Southwest has committed and continues to

commit acts in violation of 35 U.S.C. § 271, and has made, used, marketed, distributed, offered

for sale, and/or sold infringing products and services in this State, including in this District, and

otherwise engaged in infringing conduct within and directed at, or from, this District. Such

infringing products, systems, and/or services (collectively, the “Accused Instrumentalities”)

include systems, services, processes, methods, acts, components (hardware and/or software),

and/or other instrumentalities associated with web-page widgets and/or searches or queries

performed in connection with Southwest’s web platform(s) and mobile application(s), including

the products, systems, and/or services identified in Exhibits 6-10. The “Accused

Instrumentalities” include, without limitation, all systems, processes, and instrumentalities




1
  https://careers.southwestair.com/search-
results?qcity=Dallas&qstate=Texas&qcountry=United%20States%20of%20America.
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associated with receiving, handling, processing, responding to, or otherwise interacting with

queries (including user queries and back-end queries); all systems, processes, and

instrumentalities related to the location, identification, delivery, display, rendering, ranking, and

communication of information relating to such queries; and all systems, processes, and

instrumentalities associated with the delivery, display, rendering, and communication of

information via Southwest’s web platform(s) and mobile application(s), including those

accessible at and/or through Southwest.com and Southwestvacations.com. The “Accused

Instrumentalities” include, without limitation, the front-end(s) and back-end(s) of Southwest’s

online travel agency and search engine services for hotels, vacation rentals, flights, and airport

transfer incorporated into the Southwest web platform and/or Southwest mobile application.

       4.      Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) because

Southwest has regular and established places of business in the District, at least at its

headquarters in Dallas. Venue is further proper in this District because Southwest has infringed

and/or induced the infringement of others, including its customers, in this District.

                                         BACKGROUND

       5.      The patents-in-suit were filed by Yahoo! Inc. (“Yahoo!”) between 2006 and 2009.

At the time, Yahoo! was a leading Internet communications, commerce, and media company.

Yahoo! invested billions of dollars in research and development over this period, filing hundreds

of patent applications each year to cover the innovative computing technologies emerging from

its expansive research and development efforts.

       6.      Yahoo! began as a directory of websites that two Stanford graduate students

developed as a hobby. The name “Yahoo” stands for “Yet Another Hierarchical Officious

Oracle,” a nod to how the original Yahoo! database was arranged hierarchically in layers of



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subcategories. From this initial database, Yahoo! would develop and promulgate numerous

advancements in the field of data storage and recall.

         7.    For example, in 1995, Yahoo! introduced Yahoo! Search. This software allowed

users to search the Yahoo! directory, making it the first popular online directory search engine.

This positioned Yahoo! as the launching point for most users of the World Wide Web. By 1998,

Yahoo! had the largest audience of any website or online service.

         8.    However, the early iterations of Yahoo! Search did not operate like a modern

search engine because Yahoo! Search was only a directory. Yahoo! Search first integrated a

Web crawling engine in 2000. Yahoo! Search used Google’s Web crawling engine from 2000–

2004. During this time, Yahoo! was developing its own Web search technologies. Yahoo!

deployed its own Web crawler in early 2004. The engine, known as Slurp, allowed Yahoo! to

collect documents from the Web and build a searchable index. The patents-in-suit relate to

innovations associated with Yahoo! Search that were developed and implemented during this

period, which enabled Yahoo! to become Google’s biggest competitor in the search engine

space.

                                   THE PATENTS-IN-SUIT

         9.    The ’157 patent is entitled, “System and Method for Intent-Driven Search Result

Presentation.” The ’157 patent lawfully issued on December 25, 2012, and stems from U.S.

Patent Application No. 12/533,299, which was filed on July 31, 2009. A copy of the ’157 patent

is attached hereto as Ex. 1.

         10.   The ’329 patent is entitled, “Method for Improving Quality of Search Results by

Avoiding Indexing Sections of Pages.” The ’329 patent lawfully issued on April 13, 2010, and




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stems from U.S. Patent Application No. 11/652,356, which was filed on January 10, 2007. A

copy of the ’329 patent is attached hereto as Ex. 2.

       11.       The ’317 patent is entitled, “Method and Apparatus for Reconstructing a Search

Query.” The ’317 patent lawfully issued on June 26, 2012, and stems from U.S. Patent

Application No. 13/270,933 filed on October 11, 2011. The ’317 patent is a continuation of U.S.

Patent Application No. 12/765,676 filed on April 22, 2010, which is a continuation of U.S.

Patent Application No. 11/502,202 filed on August 10, 2006. A copy of the ’317 patent is

attached hereto as Ex. 3.

       12.       The ’097 patent is entitled, “Method and System for Providing a Search Result.”

The ’097 patent lawfully issued on October 31, 2017, and stems from PCT Application No.

PCT/CN2014/094122, which was filed on December 17, 2014. A copy of the ’097 patent is

attached hereto as Ex. 4.

       13.       The ’272 patent is entitled, “System and Method of Automatically Sizing and

Adapting a Widget to Available Space.” The ’272 patent lawfully issued on January 8, 2019,

and stems from U.S. Patent Application No. 11/864,589, which was filed on September 28,

2007. A copy of the ’272 patent is attached hereto as Ex. 5.

       14.       R2 Solutions is the owner of the patents-in-suit with all substantial rights,

including the exclusive right to enforce, sue, and recover damages for past and future

infringements.

       15.       The claims of the patents-in-suit are directed to patent eligible subject matter

under 35 U.S.C. § 101. They are not directed to abstract ideas, and the technologies covered by

the claims consist of ordered combinations of features and functions that, at the time of

invention, were not, alone or in combination, well-understood, routine, or conventional.



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       16.        Indeed, the specifications of the patents-in-suit disclose shortcomings in the prior

art and then explain, in detail, the technical way the claimed inventions resolve or overcome

those shortcomings. For example, relative to the ’157 patent, the specification explains that if, as

in the case of traditional search engines, the “engine simply regards a web query as, for example,

a ‘bag of words’, the search engine will search for web pages and other data objects (e.g.,

images, audio files, text files) that contain, or are otherwise associated with, the individual words

within the query.” ’157 patent at 4:1-5. However, simply treating a user query as a “bag of

words” may yield results that do not align with the purpose of the user’s search. Additionally, it

can be onerous to scrutinize generated results for a desired returned object, as the objects can be

unremarkable as to each other. Id. at 4:10-15. Thus, the specification teaches:

       Search results could be significantly enhanced if the likely intent of the query is
       known. For example, search results may be ranked such that results that are more
       relevant to the user’s intent appear at or near the top of the search results. Perhaps
       more significantly, however, the user’s intent can be used to customize the display
       and behavior of a search result to be narrowly targeted to a user’s intent. An
       illustrative list of such customizations could include a customized title or abstract
       for the result or specialized parameters of a displayed clickable URL to provide
       the landing page with information regarding the user’s intent or triggered by the
       user’s intent.

Id. at 4:16-26.

       17.        This “intents”-driven search engine process offers significant technical features

that constitute enhancements over then-existing search engine technology. For example, the

’157 patent discusses how pre-programmed “intents” can be mapped to from query keywords,

and how “intents” determination can be fine-tuned via particular parameters:

       The query is then classified into one or more likely intents, which can include an
       unclassified intent when no defined intents match the query 2300. An intent is a

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       mapping from many combinations of keywords to a relatively small set of
       common goals that users pursue in a search query or session of multiple queries.
       Often, the intent of the query is not explicitly stated in the keywords. While the
       space of possible queries, is very large, the set of intents is much smaller.
       Examples of intents relating to product queries can be, for example: official-site,
       research, purchase, dealer, support, or reviews. Examples of intents relating to
       local/map queries: directions, reviews, phone, hours-of-operation. In one
       embodiment, query intent may be determined by linguistic analysis of query
       keywords. In one embodiment, previous queries in the user session, user profile
       information such as preferences, the set of all queries from all users or any subset
       of all users (e.g. a subset of users having specific demographics or usage
       patterns), and click data from previous sessions for the current user as well as the
       set of all users or any subset of all users are used to determine query intent.

’157 patent at 9:42-61.

       18.     The “intents”-driven search engine process of the ’157 patent ensures that query

keywords, via the “intents,” can even ultimately impact how particular data objects are

constructed within a result. This provides an added benefit of enabling keywords to be utilized

for more than just relevancy analysis. Also, while other search engines existing at the time could

tailor search results by ranking the results and displaying each result with a title and brief

abstract taken from the document, the ’157 patent explains how “results could be significantly

enhanced if the likely intent of the query is known.” ’157 patent at 4:16-17. Rather than return

all documents having a matching keyword—i.e., by using traditional indexing methods—a

narrower set of results can be returned if the search results are “ranked such that results that are

more relevant to the user’s intent appear at or near the top of the search results.” Id. at 4:17-19.

       19.     Indeed, the claims of the ’157 patent provide just such a solution to the problem

of generating robust yet usable search results in response to a user query. For example, Claim 1

of the ’157 patent discloses a method comprising:
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   receiving, over a network, a query from a user, the query comprising at least one
       query token;
   analyzing the query, using at least one computing device, to identify at least one
       query keyword;
   determining, at least the one computing device, a plurality of intents from the at least
       one keyword, each of the plurality of intents indicates a type of information
       regarding the query keyword that is likely to be desired by a user submitting the
       query;
   classifying the query, using the at least one computing device, into at least one of the
       plurality of intents;
   identifying, using the at least one computing device, a plurality of data objects
       available over the network that match the at least one query keyword;
   assigning, using the at least one computing device, at least one of the plurality of
       intents to at least some of the plurality of data objects;
             ranking, using the at least one computing device, the plurality of data objects;
   building a result, using the at least one computing device, using the ranked plurality
       of data objects, the result comprises a plurality of display entries, at least one
       display entry customized to a respective assigned intent is constructed for each
       of the ranked plurality of data objects; and
   transmitting the result, over the network, to the user.

(emphasis added).

       20.      These technical features highlight that Claim 1 itself outlines a novel process

executed by a specialized programming architecture that constitutes a significant improvement in

computer functionality. Each of the technical features emphasized above operates cooperatively

to enhance the technological process of search engine application, and these advances define a

novel improvement in computer capabilities.

       21.      Thus, the inventions claimed in the ’157 patent improve the speed, efficiency,

effectiveness, and functionality of computer systems rather than improve upon some other task


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for which a computer is used in its ordinary capacity. For example, the ’157 patent focuses on

circumventing the “bag of words” approach in result generation, and ultimately achieves better,

more-usable computer-generated results as compared to technologies that existed in 2009. As

another example, the ’157 patent can rank documents based on intent rather than using “a

traditional {query,document} score,” increasing the probability that a relevant result will be in

the final result set presented to the user. ’157 patent at 12:7-22. This reduces the number of

queries that must be processed in order to return relevant results to the user. As a result, the

processor is free to allocate more resources to other tasks.

       22.     With respect to the ’329 patent, the specification explains that nefarious parties

can trick traditional search engines “into recalling documents and inflating their ranking” using

techniques known as “search engine spamming.” ’329 patent at 2:6-8. For example, spamming

may be used to “trick search engine ranking algorithms into recalling and highly ranking

documents that contain . . . sponsored links to a web merchant.” Id. at 2:8-11. The result is that

search results for many queries include irrelevant content that the querier did not desire. Id. at

2:14-17. The specification gives a specific example of an online shopper:

       A typical example of search engine spam is when a user tries to search for the
       terms “digital camera reviews” and expects to find pages which review various
       models of digital cameras, detailing performance specifications, sample images
       and reviewer pros and cons list. Having this expectation when the user clicks on a
       link for one of the results, the user is instead led to a page that contains nothing
       but a plethora of keywords and links to other stores where he can buy the camera.

Id. at 2:18-27. Thus, the specification recognizes that “there is need for mechanisms that prevent

hiding of search engine spam but yet allow webmasters to designate page content that should not

be indexed.” Id. at 2:34-37.

       23.     The specification describes a novel approach to achieve this goal:

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       As a crawler examines an individual document, one of the attributes that can be
       considered is section structure. In examining the various sections, the crawler
       identifies sections to ignore, that is, to not index in search engine indexes and or
       otherwise use for recalling the document. Such sections are referred to herein as
       “no-recall sections.” Those portions that are indexed for recalling are referred to
       as recall sections. In an embodiment, a crawler ignores no-recall sections
       demarcated by, for example, a tag. In another embodiment a no-recall section may
       be identified by analyzing section content rather than examining only delimiters.
       The terms inside no-recall sections do not contribute to the document term
       frequency counts and are not used for recalling the documents in response to
       search engine queries. However the no-recall sections are included as input to
       forms of analysis of the document that affect, for example, the document’s
       ranking. Links inside the no-recall sections as well as the rest of the document
       may be followed in order to discover new content. The document may be
       analyzed for the amount of advertisements or other features in its entirety.
       Therefore, terms inside the no-recall sections can affect document ranking.

Id. at 3:7-27. This approach solves the problem described in the specification by simultaneously

enabling ranking that is not dictated by relevance scores and preventing nefarious parties from

hiding search engine spam, e.g., because pages with “copious amounts of advertisements, or low

quality links, will be readily identified and ranked accordingly.” Id. at 3:28-31.

       24.       Claim 1 of the ’329 patent embodies this solution:

       A method, comprising:
   ranking a plurality of documents recalled by a search engine for a query;
   wherein the plurality of documents contain certain documents, each document of said
       certain documents containing at least one section that is not used by said search
       engine for recall and one or more sections that are used by said search engine for
       recall;




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   wherein ranking a plurality of documents includes ranking said plurality of
       documents based, at least in part, on the at least one section of said certain
       documents not used by said search engine to recall documents; and;
   wherein the method is performed by one or more computing devices.

(emphasis added).

       25.     Claim 1 communicates two overarching technological improvements: 1) an

improved data structure that is capable of facilitating both search engine recall and improved

ranking via the attributes of recall and no-recall sections; and 2) an improved ranking process

rooted in a specialized computing device and/or software capable of delineating between and

selectively employing recall and no-recall sections found in a plurality of the aforementioned

improved data structures. These two technological advancements, working in tandem, realize a

discrete process and/or system that greatly improves upon search engine technology that existed

in 2007.

       26.     The claimed method of search engine architecture improves navigation of the

World Wide Web by increasing the relevance of search results and thwarting nefarious Web

users seeking to game Web query rankings. See, e.g., ’329 patent at 1:67 - 2:17. By improving

the functionality of navigating the Web, the claimed invention is necessarily rooted in the

improvement of computer functionality, as opposed to, e.g., enhancing the economy of a task

usually performed by hand. For example, by not ignoring no-recall sections when ranking the

documents, the claimed invention prevents a document from being “designed so that content that

increases recall and/or ranking potential is placed in the recall section and content that

diminishes high ranking potential is hidden in a no-recall section.” ’329 patent at 4:1-9. This

allows “[a]ll the attributes in all of the sections of a document such as ‘links’, frequency of

terms, coloring, font, etc.” to be considered in the spam and relevancy analyses. Id. at 4:13-16.


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The result is that a search engine can “affect the recall and ranking of documents to more

accurately reflect relevance of the documents to search engine queries.” Id. at 3:1-3. This

technological solution is the precise reason that the ’329 patent was allowed, as is apparent from

the prosecution history.

       27.     Relative to the ’317 patent, the specification explains that existing search engine

interfaces “may be rigid and require users to submit full queries to perform searche[s].” ’317

patent at Abstract. Traditional search engines were built with desktop computer users in mind.

Thus, they were designed with the assumption that a user had access to a full keyboard for

composing a complete, properly structured search query. However, as noted in the specification

of the ’317 patent, users at the time could increasingly access the internet from a variety of

devices, including “cell phones, personal digital assistants, and the like.” Id. at 1:44-47.

Portability started to become “an increasingly important concern for users.” Id. at 1:50-52. The

increasing portability of these devices came with a tradeoff in input capabilities. See id. at 1:50-

52. For example, most phones at the time the ’317 patent was filed did not have a full keyboard.

The simpler input mechanisms available on mobile devices presented a barrier to entering

properly structured queries, thus limiting users’ ability to fully explore the Internet. See id. at

1:52-53.

       28.     To solve these problems, the ’317 patent discloses “a flexible and intuitive system

for reconstructing a search query based on a received partial query.” Id. at 1:16-18. This

solution is embodied in Claim 1 of the ’317 patent:

   A computer database system for providing search results to a user in response to user
       submissions over a data network, the computer database system comprising:
       a database configured to store information about events in the computer database
       system; and


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   a query reconstruction server in data communication with the database and operative
       to receive a partial query submitted at a remote user client system by a user
       seeking search results matching the submitted partial query and, in response to
       the received partial query, determine a full query based on
       (i)     the received partial query, and
       (ii)    information stored in the database about queries previously-submitted by
               users,
   wherein the submitted partial query comprises an abbreviated or incomplete search
       query which is not fully representative of an entire search query desired by the
       user and the full query is better representative of the entire search query desired
       by the user.

(emphasis added).

       29.     The specification explains that partial queries are “shorthand ways of expressing

typical search queries.” Id. at 3:15-17. For example, “auto ins” may be a partial query for the

full search query “auto insurance.” Id. at 3:20-23. While “auto ins” may be an intentional

abbreviation, it might also be a typographical error resulting from the restrictive input options of

a mobile device. Because the claimed invention will nevertheless be able to take the incomplete

query “auto ins” and return search results for “auto insurance,” a broader array of mobile devices

and input mechanisms may be used to search the Internet. See id. at 1:43-56.

       30.     With respect to the ’097 patent, the specification addresses disadvantages in prior

art approaches to searching algorithms and renderings. For example, the ’097 patent explains

that “[c]onventional approaches for providing a search result focus on presenting the items in the

search result as a list. For example, a conventional search result includes items listed from top to

bottom on a screen. This can limit user engagement on the search result as the user may lose

interest after viewing the top two items.” ’097 patent at 1:30-35. “It is [also] time consuming




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for the user to scroll up and down to find an interesting item with a listed presentation….” Id. at

1:35-40.

       31.      As a solution to this drawback, the ’097 patent enables, in response to a search

query, the displaying of content items in a framed structure (e.g., displaying thumbnails of the

video content in some framed structure), as opposed to a list of search results going from top to

bottom, where there is a correspondence between one or more content items and at least one sub-

component. The solution is embodied in Claim 1 of the ’097 patent:

       A method, implemented on at least one computing device each of which has at
             least one processor, storage, and a communication platform connected to a
             network for providing a search result, the method comprising:
       receiving a search request from a user;
       determining a plurality of content items based on the search request;
       selecting one or more content items from the plurality of content items;
       generating a framed structure having at least one sub-component;
       determining a correspondence between the one or more content items and the at
             least one sub-component;
       arranging each of the one or more content items with respect to a
             corresponding sub-component;
       generating a search result based on the one or more content items and the framed
             structure; and
       providing the search result.
(emphasis added).
       32.      The inventions described and claimed in the ’097 patent improve the speed,

efficiency, effectiveness, and functionality of computer systems. Moreover, the inventions

provide an improvement in computer functionality beyond rote tasks for which a computer is

used in its ordinary capacity. For example, the ’097 patent enhances “search result generation

and presentation, realized as a specialized and networked system by utilizing one or more


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computing devices (e.g., mobile phone, personal computer, etc.) and network communications

(wired or wireless).” Id. at 4:29-33. The ’097 patent provides significant advantages over prior

art by “providing a search result to a user to improve the user engagement and/or increase

revenue for a search engine. After submitting a query to a search engine, a user may receive a

search result including one or more content items. The user’s interest on the items may be

stimulated not only by their content but also by a manner of providing or presenting them.” Id.

at 4:33-40.

       33.     Relative to the ’272 patent, the specification explains that with respect to web-

page widgets, “[e]ven though multiple sizes are offered, their limited number cannot account for

all web-page sizing variations; not only do web pages come in a wide number of styles and

designs, but an end user ultimately has control, to a greater or lesser relative extent, over the

monitor size and the web browser dimensions; if the web page is designed using mostly relative

constraints, then the size of the web page can vary widely depending on monitor size, browser-

window size, etc.” ’272 patent at 1:40-48. The specification further explains that “changing the

size of a widget is often a frustrating experience,” especially with respect to incorporating the

widget into a webpage, which can require a user to “repeat the entire settings-choosing process,

including placing the widget code on the web page.” Id. at 48-51. Thus, “[i]n light of the

immutable nature of current widgets, it is often the case that they do not or cannot fit into an

already-established web page layout,” meaning that a widget will often “overflow[] out of its

section,” “not appear[] at all,” or cause other errors, such as pushing other sections “down and

out of view” or causing other sections to be “resized to fit [the] widget.” Id. at 2:38-52.

       34.     To address these failings in the art, the ’272 patent discloses an enhanced widget

technology that realizes the “general object of…automatically siz[ing] a web-based widget



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relative to its real-time constraints to make optimal and efficient use of available space.” Id. at

1:57-60. This solution is embodied in, e.g., claim 1 of the ’272 patent:

       A method comprising:
       receiving structural data associated with a web page, the web page including a widget,
             the widget including a plurality of widget elements, wherein the structural data
             includes a size of a browser window used to display the web page;
       accessing a constraint regarding a pre-determined number of the widget elements to
             display within the widget;
       triggering during a display of the browser window and the plurality of widget elements
             a reduction in a size of the widget and a reduction in a plurality of sizes of the
             widget elements to display within the widget when the size of the browser window
             reduces;
       removing one or more of the widget elements from being displayed within the widget
             after reducing the sizes of the widget elements, wherein said removing the one or
             more of the widget elements is performed until the constraint is achieved;
       increasing a size of remaining one of the widget elements of the reduced size to fit
             within the widget of the reduced size upon achieving the constraint; and
       sending data for displaying the widget.
(emphasis added).

       35.      The claimed inventions of the ’272 patent detail an enhanced widget technology

that implements technological features like those emphasized above to improve upon computer

functionality—indeed, the patent focuses on technology that can only exist in the realm of

computers, e.g., widgets. Moreover, the inventions provide an improvement in computer

functionality beyond rote tasks for which a computer is used in its ordinary capacity, and the

inventions described and claimed in the ’272 patent improve the speed, efficiency, effectiveness,

and functionality of computer systems. For example, the ’272 patent enhances widget

technology by enabling a “widget [] to resize itself automatically relative to where it is being



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placed,” and further provides a widget that can “determine[], based on its available space…the

elements it should display and at what size.” Id. at 2:66 – 3:1, 3:10-15. The ’272 patent realizes

significant advantages over prior art by providing “web-based widgets” capable of making

“optimal and efficient use of their bounded space.” Id. at 2:19-20.

       36.     In essence, each of the patents-in-suit relate to novel and non-obvious inventions

in the fields of search engines, data analytics, and database structures.

          DEFENDANT’S PRE-SUIT KNOWLEDGE OF ITS INFRINGEMENT

       37.     Prior to the filing of this Complaint, Southwest was notified on numerous

occasions of the R2 portfolio to which the patents-in-suit belong, and R2 has further attempted to

engage Southwest in licensing discussions related to the patents-in-suit for over a year.

       38.     On June 1, 2021, Craig Yudell, President of R2, sent a letter to Mark Shaw,

Southwest’s Executive Vice President and Regulatory Officer, offering an opportunity to

negotiate a broad license to the portfolio that includes the patents-in-suit. The letter explained

that R2’s portfolio originated from Yahoo! and that it includes patents covering a variety of

technologies relevant to Southwest.

       39.     On September 28, 2021, Mr. Yudell sent Mr. Shaw another letter restating the

information from the June 1 letter and, again, offering an opportunity to open negotiations. The

September 28 letter further explained that since the June 1 letter, R2 had licensed many

companies through negotiated deals and had also resolved several lawsuits involving patents at

issue here.

       40.     On October 12, 2021, Evan Woolley, VP of Licensing for R2’s owner, sent Mr.

Shaw yet another letter. The letter reiterated that R2 had resolved certain litigation,

demonstrating the value of R2’s portfolio to Southwest.



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         41.     Mr. Woolley continued his attempts to engage Southwest in negotiations with

another letter to Mr. Shaw on January 12, 2022, identifying other litigation that had been

resolved.

         42.     Southwest ignored each and every one of these attempts to open a licensing

dialogue. As a result, R2 was left with no other choice but to file suit.

                                     COUNT I
                       INFRINGEMENT OF U.S. PATENT NO. 8,341,157

         43.     This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

         44.     R2 is the owner of the ’157 patent with all substantial rights to the ’157 patent,

including the exclusive right to enforce, sue, and recover damages for past and future

infringements.

         45.     The ’157 patent is valid and enforceable and was duly issued in full compliance

with Title 35 of the United States Code.

Direct Infringement (35 U.S.C. § 271(a))

         46.     Southwest has directly infringed and continues to directly infringe one or more

claims of the ’157 patent in this District and elsewhere in Texas and the United States.

         47.     To this end, Southwest has infringed and continues to infringe, either by itself or

via an agent, at least claims 1-5 and 7-10 of the ’157 patent by, among other things, making,

offering to sell, selling, testing and/or using the Accused Instrumentalities.

         48.     Attached hereto as Ex. 6, and incorporated herein by reference, is a representative

claim chart detailing how Southwest infringes the ’157 patent.

         49.     Southwest is liable for its infringements of the ’157 patent pursuant to 35 U.S.C.

§ 271.

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Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       50.     In addition and/or in the alternative to its direct infringement, Southwest has

indirectly infringed and continues to indirectly infringe one or more claims of the ’157 patent by

inducing direct infringement by its customers and end users.

       51.     Southwest has had knowledge of the ’157 patent since as early as September 28,

2021, when Mr. Yudell informed Southwest that R2 resolved a lawsuit against Workday, which

involved the ’157 patent. At a minimum, Southwest has had knowledge of the ’157 patent since

being served with this Complaint.

       52.     Despite having knowledge (or being willfully blind to the fact) that use of the

Accused Instrumentalities infringes the ’157 patent, Southwest has specifically intended, and

continues to specifically intend, for persons (such as Southwest’s customers and end users) to

access, exercise control over, benefit from, use, and/or otherwise interact with the Accused

Instrumentalities in ways that infringe the ’157 patent, including at least claim 2. Indeed,

Southwest knew or should have known that its actions have induced, and continue to induce,

such infringements.

       53.     Southwest instructs and encourages customers and end users to use the Accused

Instrumentalities in ways that infringe the ’157 patent. For example, the Southwest website

prominently displays a search interface instructing users to “Book” travel and/or input origin,

destination, etc., to induce users to search for flights and/or vacation packages:




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https://www.southwest.com/.




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https://www.southwestvacations.com/#!/.

       54.     Southwest further provides users of the Southwest website with instructions and

operation tips that include instructions and links directing users to applications on the Southwest

website implementing search functionality in a way that infringes the ’157 patent:




https://www.southwest.com/help/booking/how-to-book-and-manage-flight.

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Damages

         55.     R2 has been damaged as a result of Southwest’s infringing conduct described in

this Count. Southwest is, thus, liable to R2 in an amount that adequately compensates it for

Southwest’s infringements, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                     COUNT II
                       INFRINGEMENT OF U.S. PATENT NO. 7,698,329

         56.     This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

         57.     R2 is the owner of the ’329 patent with all substantial rights to the ’329 patent,

including the exclusive right to enforce, sue, and recover damages for past and future

infringements.

         58.     The ’329 patent is valid and enforceable and was duly issued in full compliance

with Title 35 of the United States Code.

Direct Infringement (35 U.S.C. § 271(a))

         59.     Southwest has directly infringed and continues to directly infringe one or more

claims of the ’329 patent in this District and elsewhere in Texas and the United States.

         60.     To this end, Southwest has infringed and continues to infringe, either by itself or

via an agent, at least claims 1, 4-5, 8, and 11-12 of the ’329 patent by, among other things,

making, offering to sell, selling, testing and/or using the Accused Instrumentalities.

         61.     Attached hereto as Ex. 7, and incorporated herein by reference, is a representative

claim chart detailing how Southwest infringes the ʼ329 patent.

         62.     Southwest is liable for its infringements of the ’329 patent pursuant to 35 U.S.C.

§ 271.

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Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       63.     In addition and/or in the alternative to its direct infringement, Southwest has

indirectly infringed and continues to indirectly infringe one or more claims of the ’329 patent by

inducing direct infringement by its customers and end users.

       64.     Southwest has had knowledge of the ’329 patent since as early as January 12,

2022, when Mr. Woolley informed Southwest that R2 resolved a lawsuit against Target, which

involved the ’329 patent. At a minimum, Southwest has had knowledge of the ’329 patent since

being served with this Complaint.

       65.     Despite having knowledge (or being willfully blind to the fact) that use of the

Accused Instrumentalities infringes the ’329 patent, Southwest has specifically intended, and

continues to specifically intend, for persons (such as Southwest’s customers and end users) to

access, exercise control over, benefit from, use, and/or otherwise interact with the Accused

Instrumentalities in ways that infringe the ’329 patent, including at least claims 8, 11, and 12.

Indeed, Southwest knew or should have known that its actions have induced, and continue to

induce, such infringements.

       66.     Southwest instructs and encourages customers and end users to use the Accused

Instrumentalities in a manner than infringes the ’329 patent. For example, the Southwest website

prominently displays a search interface instructing users to “Book” travel and/or input origin,

destination, etc., to induce users to search for flights and/or vacation packages:




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https://www.southwest.com/.




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https://www.southwestvacations.com/#!/.

       67.     Southwest further provides users of the Southwest website with instructions and

operation tips that include instructions and links directing users to applications on the Southwest

website implementing search functionality in a way that infringes the ’329 patent:




https://www.southwest.com/help/booking/how-to-book-and-manage-flight.

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Damages

         68.     R2 has been damaged as a result of Southwest’s infringing conduct described in

this Count. Southwest is, thus, liable to R2 in an amount that adequately compensates it for

Southwest’s infringements, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                    COUNT III
                       INFRINGEMENT OF U.S. PATENT NO. 8,209,317

         69.     This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

         70.     R2 is the owner of the ’317 patent with all substantial rights to the ’317 patent,

including the exclusive right to enforce, sue, and recover damages for past and future

infringements.

         71.     The ’317 patent is valid and enforceable and was duly issued in full compliance

with Title 35 of the United States Code.

Direct Infringement (35 U.S.C. § 271(a))

         72.     Southwest has directly infringed and continues to directly infringe one or more

claims of the ’317 patent in this District and elsewhere in Texas and the United States.

         73.     To this end, Southwest has infringed and continues to infringe, either by itself or

via an agent, at least claims 1-2, 8-10, and 12 of the ’317 patent by, among other things, making,

offering to sell, selling, testing and/or using the Accused Instrumentalities.

         74.     Attached hereto as Ex. 8, and incorporated herein by reference, is a representative

claim chart detailing how Southwest infringes the ʼ317 patent.

         75.     Southwest is liable for its infringements of the ’317 patent pursuant to 35 U.S.C.

§ 271.

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Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       76.     In addition and/or in the alternative to its direct infringement, Southwest has

indirectly infringed and continues to indirectly infringe one or more claims of the ’317 patent by

inducing direct infringement by its customers and end users.

       77.     Southwest has had knowledge of the ’317 patent since as early as September 28,

2021, when Mr. Yudell informed Southwest that R2 resolved a lawsuit against Samsung, which

involved the ’317 patent. At a minimum, Southwest has had knowledge of the ’317 patent since

being served with this Complaint.

       78.     Despite having knowledge (or being willfully blind to the fact) that use of the

Accused Instrumentalities infringes the ’317 patent, Southwest has specifically intended, and

continues to specifically intend, for persons (such as Southwest’s customers and end users) to

access, exercise control over, benefit from, use, and/or otherwise interact with the Accused

Instrumentalities in ways that infringe the ’317 patent, including at least claim 1. Indeed,

Southwest knew or should have known that its actions have induced, and continue to induce,

such infringements.

       79.     Southwest instructs and encourages customers and end users to use the Accused

Instrumentalities in ways that infringe the ’317 patent. For example, the Southwest website

prominently displays a search interface instructing users to “Book” travel and/or input origin,

destination, etc., to induce users to search for flights and/or vacation packages:




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https://www.southwest.com/.




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https://www.southwestvacations.com/#!/.

       80.     Southwest further provides users of the Southwest website with instructions and

operation tips that include instructions and links directing users to applications on the Southwest

website implementing search functionality in a way that infringes the ’317 patent:




https://www.southwest.com/help/booking/how-to-book-and-manage-flight.

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Damages

         81.     R2 has been damaged as a result of Southwest’s infringing conduct described in

this Count. Southwest is, thus, liable to R2 in an amount that adequately compensates it for

Southwest’s infringements, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                      COUNT IV
                         INFRINGEMENT OF U.S. PATENT NO. 9,805,097

         82.     This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

         83.     R2 Solutions is the owner of the ’097 patent with all substantial rights to the ’097

patent, including the exclusive right to enforce, sue, and recover damages for past and future

infringements.

         84.     The ’097 patent is valid and enforceable and was duly issued in full compliance

with Title 35 of the United States Code.

Direct Infringement (35 U.S.C. § 271(a))

         85.     Southwest has directly infringed and continues to directly infringe one or more

claims of the ’097 patent in this District and elsewhere in Texas and the United States.

         86.     To this end, Southwest has infringed and continues to infringe, either by itself or

via an agent, at least claims 1, 3, 8-10, and 17-20 of the ’097 patent by, among other things,

making, offering to sell, selling, testing and/or using the Accused Instrumentalities.

         87.     Attached hereto as Ex. 9, and incorporated herein by reference, is a representative

claim chart detailing how Southwest infringes the ’097 patent.

         88.     Southwest is liable for its infringements of the ’097 patent pursuant to 35 U.S.C.

§ 271.

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Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       89.     In addition and/or in the alternative to its direct infringement, Southwest has

indirectly infringed and continues to indirectly infringe one or more claims of the ’097 patent by

inducing direct infringement by its customers and end users.

       90.     Southwest has had knowledge of the ’097 patent at least since being served with

this Complaint.

       91.     Despite having knowledge (or being willfully blind to the fact) that use of the

Accused Instrumentalities infringes the ’097 patent, Southwest has specifically intended, and

continues to specifically intend, for persons (such as Southwest’s customers and end users) to

access, exercise control over, benefit from, use, and/or otherwise interact with the Accused

Instrumentalities in ways that infringe the ’097 patent, including at least claim 1. Indeed,

Southwest knew or should have known that its actions have induced, and continue to induce,

such infringements.

       92.     Southwest instructs and encourages customers and end users to use the Accused

Instrumentalities in ways that infringe the ’097 patent. For example, the Southwest website

prominently displays a search interface instructing users to “Book” travel and/or input origin,

destination, etc., to induce users to search for flights and/or vacation packages:




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https://www.southwest.com/.




                                     32
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https://www.southwestvacations.com/#!/.

       93.     Southwest further provides users of the Southwest website with instructions and

operation tips that include instructions and links directing users to applications on the Southwest

website implementing search functionality in a way that infringes the ’097 patent:




https://www.southwest.com/help/booking/how-to-book-and-manage-flight.

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Damages

         94.     R2 Solutions has been damaged as a result of Southwest’s infringing conduct

described in this Count. Southwest is, thus, liable to R2 Solutions in an amount that adequately

compensates it for Southwest’s infringements, which, by law, cannot be less than a reasonable

royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                      COUNT V
                        INFRINGEMENT OF U.S. PATENT NO. 10,176,272

         95.     This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

         96.     R2 Solutions is the owner of the ’272 patent with all substantial rights to the ’272

patent, including the exclusive right to enforce, sue, and recover damages for past and future

infringements.

         97.     The ’272 patent is valid and enforceable and was duly issued in full compliance

with Title 35 of the United States Code.

Direct Infringement (35 U.S.C. § 271(a))

         98.     Southwest has directly infringed and continues to directly infringe one or more

claims of the ’272 patent in this District and elsewhere in Texas and the United States.

         99.     To this end, Southwest has infringed and continues to infringe, either by itself or

via an agent, at least claims 1 and 10 of the ’272 patent by, among other things, making, offering

to sell, selling, testing and/or using the Accused Instrumentalities.

         100.    Attached hereto as Ex. 10, and incorporated herein by reference, is a

representative claim chart detailing how Southwest infringes the ’272 patent.

         101.    Southwest is liable for its infringements of the ’272 patent pursuant to 35 U.S.C.

§ 271.

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Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       102.    In addition and/or in the alternative to its direct infringement, Southwest has

indirectly infringed and continues to indirectly infringe one or more claims of the ’272 patent by

inducing direct infringement by its customers and end users.

       103.    Southwest has had knowledge of the ’272 patent at least since being served with

this Complaint.

       104.    Despite having knowledge (or being willfully blind to the fact) that use of the

Accused Instrumentalities infringes the ’272 patent, Southwest has specifically intended, and

continues to specifically intend, for persons (such as Southwest’s customers and end users) to

access, exercise control over, benefit from, use, and/or otherwise interact with the Accused

Instrumentalities in ways that infringe the ’272 patent, including at least claims 1 and 10.

Indeed, Southwest knew or should have known that its actions have induced, and continue to

induce, such infringements.

       105.    Southwest instructs and encourages customers and end users to use the Accused

Instrumentalities in ways that infringe the ’272 patent. For example, Southwest’s website

prominently displays interactive widget interfaces that instruct users to “Book” travel and/or

input origin, destination, etc., to induce users to interact with the interactive widget interfaces:




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https://www.southwest.com/.




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https://www.southwestvacations.com/#!/.

       106.    Southwest further provides users of the Southwest website with instructions and

operation tips that include instructions and links directing users to applications on the Southwest

website implementing interactive widget interfaces in a way that infringes the ’272 patent:




https://www.southwest.com/help/booking/how-to-book-and-manage-flight.

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Damages

       107.    R2 Solutions has been damaged as a result of Southwest’s infringing conduct

described in this Count. Southwest is, thus, liable to R2 Solutions in an amount that adequately

compensates it for Southwest’s infringements, which, by law, cannot be less than a reasonable

royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                               DEMAND FOR A JURY TRIAL

       R2 demands a trial by jury on all issues triable of right by jury pursuant to Rule 38 of the

Federal Rules of Civil Procedure.

                                    PRAYER FOR RELIEF

       R2 respectfully requests that this Court enter judgment in its favor and grant the

following relief:

       (i)     Judgment and Order that Southwest has directly and/or indirectly infringed one or

               more claims of each of the patents-in-suit;

       (ii)    Judgment and Order that Southwest must pay R2 past and future damages under

               35 U.S.C. § 284, including supplemental damages arising from any continuing,

               post-verdict infringement for the time between trial and entry of the final

               judgment, together with an accounting, as needed, as provided under 35 U.S.C.

               § 284;

       (iii)   Judgment and Order that Southwest must pay R2 reasonable ongoing royalties on

               a go-forward basis after Final Judgment;

       (iv)    Judgment and Order that Southwest must pay R2 pre-judgment and post-judgment

               interest on the damages award;

       (v)     Judgment and Order that Southwest must pay R2’s costs;



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      (vi)    Judgment and Order that the Court find this case exceptional under the provisions

              of 35 U.S.C. § 285 and accordingly order Southwest to pay R2’s attorneys’ fees;

              and

      (vii)   Such other and further relief as the Court may deem just and proper.

Dated: December 21, 2022                           Respectfully submitted,


                                                   /s/ Edward R. Nelson III
                                                   EDWARD R. NELSON III
                                                   State Bar No. 00797142
                                                   ed@nelbum.com
                                                   BRENT N. BUMGARDNER
                                                   State Bar No. 00795272
                                                   brent@nelbum.com
                                                   CHRISTOPHER G. GRANAGHAN
                                                   State Bar No. 24078585
                                                   chris@nelbum.com
                                                   JOHN P. MURPHY
                                                   State Bar No. 24056024
                                                   murphy@nelbum.com
                                                   CARDER W. BROOKS
                                                   State Bar No. 24105536
                                                   carder@nelbum.com
                                                   NELSON BUMGARDNER CONROY PC
                                                   3131 West 7th Street, Suite 300
                                                   Fort Worth, Texas 76107
                                                   817.377.9111

                                                   COUNSEL FOR PLAINTIFF
                                                   R2 SOLUTIONS LLC




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